  Case 3:18-bk-33725-SDR            Doc 99 Filed 11/06/19 Entered 11/06/19 14:19:27             Desc
                                    Main Document    Page 1 of 2




SO ORDERED.
SIGNED this 6th day of November, 2019

THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




        ________________________________________________________________

     IN THE BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF TENNESSEE

   IN RE:

   DAVID A. RAMEY,                                 Case No. 3:18-bk-33725-MPP

                          Debtor.


                                                ORDER

            This matter came before the Court on the Debtor's motion for an order preventing the

   chapter 7 trustee, Michael Fitzpatrick, from selling the Debtor's interest in his father's 2012

   Dodge Ram vehicle without further order of Court.

            After having reviewed the motion, it is hereby ORDERED as follows:

            1.     The chapter 7 trustee, Michael Fitzpatrick, shall not sell the Debtor's 2012 Dodge

   Ram vehicle, pending further order of this Court.

                                                  ###

   Submitted and approved by:

   By: /s/ Elliott Schuchardt
       Elliott J. Schuchardt
       TN BPR # 27016
Case 3:18-bk-33725-SDR      Doc 99 Filed 11/06/19 Entered 11/06/19 14:19:27   Desc
                            Main Document    Page 2 of 2



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